 

Case 3:19-mc-00101-6 Robearere 1 \Fliled 12/03/19 Pagelof5 PagelD 1
ORAS US DISTR R
IN THE UNITED STATES DISTRICT COURT = FLED
FOR THE NORTHERN DISTRICT OF TEX§5 .
DALLAS DIVISION EC-3 AMINE 47

IN RE:  SEPUTY seme

$14,004.00 IN U.S. CURRENCY Misc. Case No. 19-MC- \o\ -S

AGREED MOTION TO EXTEND
TIME TO FILE JUDICIAL FORFEITURE ACTION

The United States of America, through Assistant United States Attorney, Gregory
S. Martin, move, pursuant to 18 U.S.C. § 983(a)(3)(A), for a 30-day extension of time to
file a judicial action regarding property to which Norman Huynh, through his attorney,
Brittany Redden, has filed a claim in an administrative forfeiture proceeding with the
Drug Enforcement Administration (DEA), and in support state:

1. DEA seized $14,004.00 in U.S. Currency on or about June 18, 2019, at
DFW International Airport in Tarrant County, Texas.

2. DEA sent written notice of intent to forfeit the seized property to all
potentially interested parties as required by 18 U.S.C. § 983(a)(1)(A). On September 4,
2019, Huynh, through his attorney of record, filed a claim to the property with the DEA.

3. No other person has filed a claim to the property, and the time to do so
under 18 U.S.C. § 983(a)(2)(A)-(E) has expired.

4, According to 18 U.S.C. § 983(a)(3)(A)-(C), the United States is to file a

judicial forfeiture action no later than 90 days after a claim has been filed or return the

Agreed Motion to Extend Judicial Filing Deadline (Huynh) — Page 1
Case 3:19-mc-00101-S Document1 Filed 12/03/19 Page 2of5 PagelD2

seized property pending such filing, except that a court may extend the filing period for
good cause shown or upon agreement of the parties.

5. Unless the court extends the judicial filing deadline for good cause or upon
agreement of the parties, the 90-day period that began with Huynh’ claim expires on
December 3, 2019.

6. The parties have agreed to extend the time for filing a judicial action for 30
days, to and including January 2, 2020.

CONCLUSION
Therefore, the parties request an order to extend the filing period for a judicial

forfeiture action to and including February 1, 2020.

Respectfully submitted,

ERIN NEALY COX
UNITED STATES ATTORNEY

/s/ Gregory S. Martin
GREGORY S. MARTIN
Assistant United States Attorney
California Bar No. 294482
1100 Commerce Street, Third Floor
Dallas, Texas 75242-1699
Telephone; 214-659-8600
Facsimile: 214-659-8803

E-mail: gregory .martin2@usdoj.gov

Agreed Motion to Extend Judicial Filing Deadline (Huynh) — Page 2

 
Case 3:19-mc-00101-S Document1 Filed 12/03/19 Page3of5 PagelD3

CERTIFICATE OF CONFERENCE
I certify that the claimant and the attorney for the claimant have previously agreed
to extend the deadline to file a civil forfeiture complaint or include the property in a
criminal action as requested.
/s/ Gregory S. Martin

GREGORY S. MARTIN
Assistant United States Attorney

Agreed Motion to Extend Judicial Filing Deadline (Huynh) — Page 3
Case 3:19-mc-00101-S Document1 Filed 12/03/19 Page4of5 PagelD 4

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
IN RE:
$14,004.00 IN U.S. CURRENCY, Misc. Case No. 19-MC-
ORDER EXTENDING TIME

TO FILE JUDICIAL FORFEITURE ACTION

Before the court is the United States’ agreed motion to extend the time to file a
judicial forfeiture action $14,004.00 in U.S. Currency seized from claimant Norman
Huynh, on or about June 18, 2019 at DFW International Airport in Tarrant County,
Texas. The United States and Huynh have agreed to extend the current deadline of
December 3, 2019. No other parties made a claim to the property during the
administrative forfeiture proceeding.

The court being authorized by 18 U.S.C. § 983(a)(3)(A) to extend the time in
which the United States is required to file a complaint for forfeiture against the property
or obtain an indictment alleging that the property is subject to forfeiture based upon

agreement of the parties; it is
Case 3:19-mc-00101-S Document1 Filed 12/03/19 Page5of5 PagelD5

ORDERED, pursuant to 18 U.S.C. § 983(A)-(C), that the date by which the United
States is required to file a complaint for forfeiture against the property and/or to obtain an
indictment alleging that the property is subject to forfeiture is extended to January 2,

2020.

 

UNITED STATES DISTRICT JUDGE
